        Case 4:20-cv-04960-KAW Document 31 Filed 02/10/21 Page 1 of 3



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     Attorney for Defendant Shutterfly, Inc.
 7
                                  UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
10   L.P. et al.,                                 CASE NO. 4:20-cv-04960-KAW
11                      Plaintiffs,               CIVIL RULE 6-1(A) STIPULATION
                                                  EXTENDING TIME FOR
12   vs.                                          SHUTTERFLY, INC. TO RESPOND TO
                                                  THE COMPLAINT
13   Shutterfly, Inc.
14                      Defendant.
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            LOCAL RULE 6-1(A) STIPULATION EXTENDING TIME TO RESPOND TO THE COMPLAINT
                                     CASE NO. 4:20-CV-04960-KAW
       Case 4:20-cv-04960-KAW Document 31 Filed 02/10/21 Page 2 of 3



 1          Pursuant to Local Rules 7-12 (Stipulations) and 6-1(a) (Stipulation Enlarging Time

 2   Permissible Without Court Order), plaintiffs in the above-captioned action and Defendant

 3   Shutterfly, Inc. (“Shutterfly,” and, together with plaintiffs, “the parties”), HEREBY STIPULATE

 4   AS FOLLOWS:

 5          1.      Plaintiffs filed their complaint on July 23, 2020. Dkt. 1.

 6          2.      Most recently, on December 14, 2020, the parties entered into a stipulation

 7   (entered by the Court on December 17, 2020) to stay those proceedings for 30 days. Pursuant to

 8   that stipulation, Shutterfly’s response to the complaint is due February 10, 2021; the parties are

 9   required to submit a joint case management statement by March 16, 2021; and an initial case
10   management conference is scheduled on March 23, 2021, at 1:30 p.m. Dkt. 30.

11          3.      Plaintiffs agree that the time within which Shutterfly must answer or otherwise

12   respond to the complaint shall be extended by 30 days up to and including March 12, 2021.

13          4.      The stipulated extension of Shutterfly’s deadline to respond to the complaint does

14   not alter any of the parties’ current case management deadlines, including their deadline to submit

15   a joint case management statement by March 16, 2021, or the initial case management conference

16   that is scheduled on March 23, 2021, at 1:30 p.m.

17          IT IS SO STIPULATED.

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     Dated: February 10, 2021                            MAYER BROWN LLP
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20
                                                         By: /s/ John Nadolenco
21                                                          John Nadolenco
22                                                       Attorney for Defendant Shutterfly, Inc.
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           LOCAL RULE 6-1(A) STIPULATION EXTENDING TIME TO RESPOND TO THE COMPLAINT
                                    CASE NO. 4:20-CV-04960-KAW
       Case 4:20-cv-04960-KAW Document 31 Filed 02/10/21 Page 3 of 3



 1   Dated: February 10, 2021                        LABATON SUCHAROW LLP

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 3                                                   By: /s/ Jonathan Gardner
                                                        Jonathan Gardner
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 5                                                   WAGSTAFFE, VON LOEWENFELDT,
                                                     BUSCH & RADWICK LLP
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 7
                                                     By: /s/ James M. Wagstaffe
 8                                                      James M. Wagstaffe
 9
10                                                   Attorneys for Plaintiffs
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     ATTESTATION: Pursuant to Local Civil Rule 5-1(i)(3), the Filer attests that concurrence in the
12   filing of this document has been obtained from all signatories.
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           LOCAL RULE 6-1(A) STIPULATION EXTENDING TIME TO RESPOND TO THE COMPLAINT
                                    CASE NO. 4:20-CV-04960-KAW
